   Case 0:22-cv-61931-RKA
                 Case 22-14583-SMG
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                                                on FLSD
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CGFD71 (12/1/15)
                                  UNITED STATES BANKRUPTCY COURT
                                         Southern District of Florida
                                                        www.flsb.uscourts.gov

In re: Marisa Chanile Smith                                         Case Number: 22−14583−SMG
                                                                    Chapter: 13
                                                                    County of Residence or Place of Business: Fort Lauderdale
                                                                    U.S. District Court Case Number: 22−61931−RKA


                                    TRANSMITTAL TO DISTRICT COURT
            Appeal pursuant to 28 U.S.C. § 158, Notice of Appeal and Statement of Election filed on
            Motion for Leave to Appeal (copy of appeal attached)
            Request to Expedite Appeal attached.
            Motion to Withdraw Reference pursuant to Local Rule 5011−1(C):

                              Contested       Uncontested
            Withdrawal of Reference granted by U.S. District Court
            Report and Recommendation (Motion to Withdraw Reference)


                              The Party or Parties Included in the Record to District Court:

        Appellant/Movant: Marisa Chanile Smith          Attorney:                          Attorney:




        Appellee/Respondent: Shoma Homes At             Attorney: Michael S Hoffman        Attorney:
        Nautica Single Family
                                                        909 North Miani Beach Blvd #201
                                                        Miami FL 33162


        Title and Date of Order Appealed, if applicable: Order Denying Motion For Reconsideration 10/3/2022

        Entered on Docket Date: 10/3/2022                           Docket Number: 72



            Designation in Appeal (See Attached)
            Designation in Cross Appeal (See Attached)
            Copy of Docket
            Exhibits:
            Copies of Transcript(s) of Hearing(s) on:

            Respondent's Answer and/or Movant's Reply
            Other:



Dated:11/15/22                                                      CLERK OF COURT
                                                                    By: Desiree Grooms
                                                                    Deputy Clerk (954) 769−5700
